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 6
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                            EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,           )   1: 05-CR-0349 OWW
                                         )
10                      Plaintiff,       )   STIPULATION AND ORDER TO CONTINUE
                                         )   STATUS CONFERENCE
11                v.                     )
                                         )   DATE: May 08, 2006
12   ARMANDO LOPEZ,                      )   TIME: 9:00 a.m.
     FRANCISCO LOPEZ,                    )   PLACE: Courtroom Three
13   RAMIRO ROSAS,                       )   Honorable Oliver W. Wanger
     FRANCISCO RAMOS,                    )
14   RANFERI PENA,                       )
      aka, Ralph Pena,                   )
15   MARIBEL RIOS, and                   )
     HEIDI SMITH                         )
16                                       )
                        Defendants.      )
17                                       )

18
            The parties herein, through their respective counsel, hereby
19
     stipulate that the status conference date be continued from April
20
     24, 2006, until May 08, 2006.
21
            The parties further stipulate and agree that the resulting
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     period of delay occurring between April 24, 2006, and May 08,
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     //
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     //
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     //
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     //
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     //
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 1   2006, shall be excluded pursuant to 18 U.S.C. Sections

 2   3161(h)(1)(F) and 3161(h)(1)(I).

 3

 4

 5   Dated: April 20, 2006                      McGREGOR W. SCOTT
                                                United States Attorney
 6

 7                                            By:_/s/ Stanley A. Boone
                                                 STANLEY A. BOONE
 8                                               Assistant U.S. Attorney

 9
                                                 /s/ Glenn E. LoStraco
10                                              GLENN E. LoSTRACO
                                                Attorney for Defendant
11                                              Armando Lopez

12                                               /s/ Thomas V. Miles
                                                THOMAS V. MILES
13                                              Attorney for Defendant
                                                Francisco Lopez
14
                                                 /s/ Thomas J. Richardson
15                                              THOMAS J. RICHARDSON
                                                Attorney for Defendant
16                                              Ramiro Rosas

17                                               /s/ Michael W. Berdinella
                                                MICHAEL W. BERDINELLA
18                                              Attorney for Defendant
                                                Francisco Ramos
19
                                                 /s/ Jim T. Elia
20                                              JIM T. ELIA
                                                Attorney for Defendant
21                                              Ranferi Pena

22                                              /s/ Richard A. Beshwate, Jr.
                                                RICHARD A. BESHWATE, JR.
23                                              Attorney for Defendant
                                                Maribel Rios
24
                                                 /s/ Carol Ann Moses
25                                              CAROL ANN MOSES
                                                Attorney for Defendant
26                                              Heidi Smith

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 1                                    O R D E R

 2         IT IS HEREBY ORDERED THAT, the date previously set for the

 3   status conference is hereby continued to May 08, 2006.             It is

 4   further ordered that time shall be excluded from April 24, 2006,

 5   to May 08, 2006, pursuant to 18 U.S.C. Sections 3161(h)(1)(F) and

 6   3161(h)(1)(I).

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 8   IT IS SO ORDERED.

 9   Dated: April 24, 2006                  /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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